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                                      UNITED STATES DISTRICT COURT

                                         DISTRICT OF SOUTH DAKOTA

                                                  WESTERN DIVISION


 UNITED STATES OF AMERICA,                                                                 5:2O-CR-5O122-JLV-Ol

                              Plaintiff,

                                                                                           CONSENT AND WAIVER
        vs.

  GEORGE DULL KNIFE,

                              Defendant.


        Pursuant to 28 U.S.C. $ 636(b)(1) and (3), I, George Dull Knife, hereby expressly

 consent that United States Magistrate Judge Daneta Wollmann may preside over my

 guilty plea proceeding and accept my gurlty plea, and issue a report and

 recommendation to the District Court as providedby 28 U.S.C. S 636(bXU. Further, I

 expressly waive my right to object to the report and recommendation.




 -_-\lulzz --
 Date                                                           Attorney for Defendant


          ****:***************************************************:l********************


        Consented to and waived by United States:


                                                                           Signature

                                                                            {Lr4
                                                                           Name and Title a
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